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 7
 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
11   Olivier Chaine,                         ) Case No. CV 20-9082-JFW(GJSx)
                                             )
12                    Plaintiff,             ) STANDING ORDER
                                             )
13        v.                                 )
                                             )
14   Tesla Energy Operation, Inc.,           )
     et al.,                                 )
15                                           )
                   Defendants.               )
16   _______________________________
17        READ THIS ORDER CAREFULLY. IT CONTROLS THE CASE AND
18   DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.
19        This action has been assigned to the calendar of Judge
20   John F. Walter.      Both the Court and counsel1 bear
21   responsibility for the progress of litigation in Federal
22   Court.    To secure the just, speedy, and inexpensive
23   determination of every action, all counsel are ordered to
24   familiarize themselves with the Federal Rules of Civil
25   Procedure, the Local Rules of the Central District of
26
27        1
         Any reference in the Court’s Standing Order (or any
   other
28 partiescourt order) to “counsel” or “attorney” applies to
            appearing pro se unless the context requires
   otherwise.
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 1   California, the General Orders of the Central District and
 2   the Judge’s Procedures and Schedules found on the website
 3   for the United States District Court for the Central District
 4   of California (www.cacd.uscourts.gov).
 5   1.   Service of the Complaint:
 6        The plaintiff shall promptly serve the Complaint in
 7   accordance with Fed.R.Civ.P. 4 and shall file the proof(s) of
 8   service pursuant to the Local Rules.           The plaintiff is hereby
 9   notified that failure to serve the Complaint as required by
10   Fed.R.Civ.P. 4(m) will result in the dismissal of the
11   Complaint against the unserved defendant(s).
12   2.   Presence of Lead Counsel:
13        Lead trial counsel shall attend all proceedings before
14   this Court and all Local Rule 7-3, scheduling, status, and
15   settlement conferences.        Only ONE attorney for a party may be
16   designated as lead trial counsel unless otherwise permitted
17   by the Court.
18   3.   Electronic Filing and Courtesy Copies:
19        (a) Within ten days of a party’s initial appearance, lead
20   trial counsel shall file a declaration entitled, “Declaration
21   of Lead Trial Counsel” which shall: (1) notify the Court that
22   counsel has registered as an “CM/ECF User;” (2) include lead
23   counsel’s “E-Mail Address of Record;” and (3) confirm that
24   lead counsel has read the Court’s Standing Order and the
25   Local Rules.
26        (b) All documents that are required to be filed in an
27   electronic format pursuant to the Local Rules shall be filed
28   electronically no later than 4:00 p.m. on the date due unless

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 1   otherwise ordered by the Court.           Any documents filed
 2   electronically after 4:00 p.m. on the date due will be
 3   considered late and may be stricken by the Court.               All
 4   documents filed electronically shall be filed in accordance
 5   with the Local Rule 5-4.        Each PDF file shall contain no more
 6   than one document.       See Local Rule 5-4.3.1. Any documents
 7   which counsel attempt to file electronically which are
 8   improperly filed will not be accepted by the Court.
 9        (c) Counsel are ORDERED to deliver 2 copies of all
10   documents filed electronically in this action to Chambers.
11   For each document filed electronically, one copy shall be
12   marked “CHAMBERS COPY” and the other copy shall be marked
13   “COURTESY COPY.”      The “CHAMBERS COPY” and “COURTESY COPY” are
14   collectively referred to herein as “Courtesy Copies.” The
15   Courtesy Copies of each electronically filed document must
16   include on each page the running header created by the ECF
17   system.    In addition, on the first page of each Courtesy
18   Copy, in the space between lines 1 - 7 to the right of the
19   center, counsel shall include the date the document was
20   e-filed and the document number. The Courtesy Copies shall be
21   single-sided and shall not be blue-backed. All documents must
22   be stapled only in the top left-hand corner, the electronic
23   proof of service must be attached as the last page of each
24   document, and the exhibits attached to any document must be
25   tabbed.    Counsel shall not staple the “COURTESY COPY” and
26   “CHAMBERS COPY” together. The “COURTESY COPY” and “CHAMBERS
27   COPY” of all documents must be three-hole punched at the left
28   / / /

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 1   margin with oversized 13/32" hole size, not the standard
 2   9/32" hole size.      If evidence attached to a document exceeds
 3   twenty-five pages, the Courtesy Copies of the evidence shall
 4   be placed in separately bound volumes and include a Table of
 5   Contents.    If such evidence exceeds fifty pages, the Courtesy
 6   Copies of such evidence shall be placed in a slant D-ring
 7   binder with each item of evidence separated by a tab divider
 8   on the right side. All documents contained in the binder must
 9   be three hole punched with the oversized 13/32” hole size,
10   not the standard 9/32” hole size.          The binder shall include a
11   Table of Contents and the spine of the binder shall be
12   labeled with its contents.
13        The Courtesy Copies shall be delivered to Chambers no
14   later than 10:00 a.m. on the next business day after the
15   document was electronically filed.
16        (d) For any document that is not required to be filed
17   electronically, counsel are ORDERED to deliver 1 conformed
18   copy of the document, which shall be marked “COURTESY COPY,”
19   to Chambers at the time of filing. For any document or
20   exhibit that is not required to be filed electronically,
21   counsel shall retain a copy of that document or exhibit until
22   all appeals have been exhausted.
23        (e)    If the Court has granted an application to file
24   documents under seal, the Court’s Courtesy Copies shall
25   include a complete version of the documents including any
26   sealed documents. Each document that has been filed under
27   seal shall include a notation identifying that the document
28   has been filed under seal, and shall be highlighted to show

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 1   the portion of the document that has been redacted. For
 2   example, if the Court orders Ex. A to a Declaration filed
 3   under seal, the Court’s Courtesy Copies of the Declaration
 4   should include Ex. A as an attachment with a notation that it
 5   has been filed under seal pursuant to the Court’s order and
 6   any redactions shall be highlighted.
 7        (f) In the unlikely event counsel finds it necessary to
 8   file a Notice of Errata: (1) the Notice of Errata shall
 9   specifically identify each error by page and line number and
10   set forth the correction; and (2) a corrected version of the
11   document in its entirety shall be attached to the Notice of
12   Errata.
13        (g) When a proposed order accompanies an electronic
14   filing, a WordPerfect or Word copy of the proposed order,
15   along with a copy of the PDF electronically filed main
16   document shall be e-mailed to JFW_Chambers@cacd.uscourts.gov.
17   The subject line of the e-mail shall be in the following
18   format: court’s divisional office, year, case type, case
19   number, document control number assigned to the main document
20   at the time of filing, judge’s initials and filer (party)
21   name.     Failure to comply with this requirement may result in
22   the denial or striking of the request or the Court may
23   withhold ruling on the request until the Court receives the
24   required documents.
25   4.   Discovery:
26        (a) All discovery matters have been referred to a United
27   States Magistrate Judge.        (The Magistrate Judge’s initials
28   follow the Judge’s initials next to the case number.)                All

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 1   discovery documents must include the words “DISCOVERY MATTER”
 2   in the caption to ensure proper routing.            Counsel are
 3   directed to contact the Magistrate Judge’s Courtroom Deputy
 4   to schedule matters for hearing.
 5        All decisions of the Magistrate Judge shall be final,
 6   subject to modification by the District Court only where it
 7   is shown that the Magistrate Judge’s Order is clearly
 8   erroneous or contrary to law.         Any party may file and serve a
 9   motion for review and reconsideration before this Court.                The
10   moving party must file and serve the motion within fourteen
11   calendar days of service of a written ruling or within
12   fourteen calendar days of an oral ruling that the Magistrate
13   Judge states will not be followed by a written ruling.                The
14   motion must specify which portions of the ruling are clearly
15   erroneous or contrary to law and support the contention with
16   a memorandum of points and authorities.            Counsel shall
17   deliver a courtesy copy of the moving papers and responses to
18   the Magistrate Judge.
19        (b) Counsel shall begin to actively conduct discovery
20   before the Fed.R.Civ.P. 26(f) conference because at the
21   Scheduling Conference the Court will impose tight deadlines
22   to complete discovery.
23   5.   Motions:
24        (a) Time for Filing and Hearing Motions:
25        Motions shall be filed in accordance with the Local
26   Rules.   This Court hears motions on Mondays commencing at
27   1:30 p.m.    Once a party has noticed a motion for hearing on a
28   particular date, the hearing shall not be continued without

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 1   leave of Court.      No supplemental briefs shall be filed
 2   without leave of Court.        Courtesy Copies shall be provided to
 3   the Court in accordance with paragraph 3 of this Order.                No
 4   motion shall be noticed for hearing for more than 35 calendar
 5   days after service of the motion unless otherwise ordered by
 6   the Court.     Documents not filed in compliance with the
 7   Court’s requirements will be stricken and will not be
 8   considered by the Court.
 9        (b) Local Rule 7-3:
10        Among other things, Local Rule 7-3 requires counsel to
11   engage in a pre-filing conference to discuss thoroughly the
12   substance of the contemplated motion and any potential
13   resolution.     Counsel should discuss the issues with
14   sufficient detail so that if a motion is still necessary, the
15   briefing may be directed to those substantive issues
16   requiring resolution by the Court.
17        Many motions to dismiss or to strike could be avoided if
18   the parties confer in good faith especially for perceived
19   defects in a Complaint, Answer, or Counterclaim which could
20   be corrected by amendment.         See, e.g., Eminence Capital, LLC
21   v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003)(where a
22   motion to dismiss is granted, a district court should provide
23   leave to amend unless it is clear that the Complaint could
24   not be saved by any amendment).           The Ninth Circuit requires
25   that this policy favoring amendment be applied with “extreme
26   liberality.”     Morongo Band of Mission Indians v. Rose, 893
27   F.2d 1074, 1079 (9th Cir. 1990).
28   / / /

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 1        These principles require counsel for the plaintiff to
 2   carefully evaluate the defendant’s contentions as to the
 3   deficiencies in the Complaint, and in most instances, the
 4   moving party should agree to any amendment that would cure a
 5   curable defect.      Counsel should, at the very least, resolve
 6   minor procedural or other nonsubstantive matters during the
 7   conference.
 8        All 7-3 conferences shall be conducted in person by lead
 9   counsel.    If lead counsel are not located in the same county
10   in the Central District of California, the conference may
11   take place via a communication method that, at a minimum,
12   allows all parties to be in realtime communication (letters
13   and e-mail, for example, do not constitute a proper 7-3
14   conference).
15        Notwithstanding the exception for preliminary injunction
16   motions in Local Rule 7-3, counsel contemplating filing a
17   preliminary injunction motion shall comply with Local Rule 7-
18   3 and meet and confer in person at least five days prior to
19   the filing of such a motion. The pro se status of one or more
20   parties does not excuse compliance with Local Rule 7-3.
21        Within three days of the conference, counsel shall file a
22   joint statement indicating the date of, duration of, and
23   method of communication used during the conference and the
24   participants in the conference.           In addition, the joint
25   statement shall detail the issues discussed and resolved
26   during the conference and the issues remaining.              Failure to
27   strictly comply with the Court’s requirements or Local Rule
28   / / /

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 1   7-3 will result in the striking and/or the denial of the
 2   motion.
 3        (c) Length and Format of Motion Papers:
 4        Memoranda of Points and Authorities in support of or in
 5   opposition to motions shall not exceed 25 pages.              Replies
 6   shall not exceed 12 pages.         Only in rare instances and for
 7   good cause shown will the Court grant an application to
 8   extend these page limitations.            Courtesy Copies of all
 9   evidence in support of or in opposition to a motion,
10   including declarations and exhibits to declarations, shall be
11   separated by a tab divider on the bottom of the page.                If
12   evidence in support of or in opposition to a motion exceeds
13   twenty-five pages, the Courtesy Copies of the evidence shall
14   be placed in separately bound volumes and include a Table of
15   Contents.    If such evidence exceeds fifty pages, the Courtesy
16   Copies of such evidence shall be placed in a slant D-ring
17   binder with each item of evidence separated by a tab divider
18   on the right side.       All documents contained in the binder
19   must be three hole punched with the oversized 13/32” hole
20   size, not the standard 9/32” hole size.            The binder shall
21   include a Table of Contents and the spine of the binder shall
22   be labeled with its contents.
23        Typeface shall comply with the Local Rules. NOTE: If
24   Times Roman is used, the font size must be no less than 14;
25   if Courier is used, the font size must be no less than 12.
26   Footnotes shall be in the same typeface and font size as the
27   text and shall be used sparingly.
28   / / /

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 1         Documents which do not conform to the Local Rules and
 2   this Order will not be considered.
 3         (d) Citations to Case Law:
 4         Citations to case law must identify not only the case
 5   being cited, but the specific page referenced. In the event
 6   it is necessary to cite to Westlaw or Lexis, the Court
 7   prefers that counsel cite to Westlaw.            Hyperlinks to case
 8   citations must be included.
 9         (e) Citations to Other Sources:
10         Statutory references should identify, with specificity,
11   which sections and subsections are being referenced (e.g.,
12   Jurisdiction over this claim for relief may appropriately be
13   found in 47 U.S.C. § 33, which grants the district courts
14   jurisdiction over all offenses of the Submarine Cable Act,
15   whether the infraction occurred within the territorial waters
16   of the United States or on board a vessel of the United
17   States outside said waters).          Statutory references which do
18   not specifically indicate the appropriate section and
19   subsection (e.g., Plaintiffs allege conduct in violation of
20   the Federal Electronic Communication Privacy Act, 18 U.S.C. §
21   2511, et seq.) are to be avoided.           Citations to treatises,
22   manuals, and other materials should similarly include the
23   volume and the section referenced.
24         (f) Proposed Statement of Decision
25         Within two days of the deadline for filing the Reply,
26   each party shall lodge a Proposed Statement of Decision,
27   which shall contain a statement of the relevant facts and
28   applicable law with citations to case law and the record.

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 1   The Proposed Statement of Decision shall not exceed fifteen
 2   pages and shall be in a form that would be appropriate for
 3   the Court to enter as its final order on the motion.                The
 4   Proposed Statement of Decision shall be submitted to the
 5   Court in accordance with the Local Rules and shall be e-
 6   mailed in WordPerfect or Word format to the Chambers’ e-mail
 7   address (JFW_Chambers@cacd.uscourts.gov) at the time of
 8   filing. Failure to lodge the Proposed Statement of Decision
 9   will result in the denial or granting of the motion.
10         (g) Opposing Papers
11         Within the deadline prescribed by the Local Rules, a
12   party opposing a motion shall file: (1) an Opposition; or (2)
13   a Notice of Non-Opposition.         If a party files a Notice of
14   Non-Opposition to a motion under Federal Rule of Civil
15   Procedure 12(b), (e), or (f), that party shall state whether
16   it intends to file an amended complaint in accordance with
17   Federal Rule of Civil Procedure 15(a)(1).
18         Failure to timely respond to any motion shall be deemed
19   by the Court as consent to the granting of the motion.                See
20   Local Rules.
21         (h)   Amended Pleadings
22         Whenever a plaintiff files an amended pleading, a
23   redlined version of the amended pleading shall be filed and
24   delivered to Chambers indicating all additions and deletions
25   to the prior version of that pleading.
26         In addition to the requirements of the Local Rules, all
27   motions to amend the pleadings shall: (1) state the effect of
28   / / /

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 1   the amendment; and (2) state the page, line number(s), and
 2   wording of any proposed change or addition of material.
 3         In the event the Court grants a motion to dismiss without
 4   prejudice to filing an amended complaint, the plaintiff shall
 5   file an amended complaint within the time period specified by
 6   the Court.     If no time period is specified by the Court, the
 7   plaintiff shall file an amended complaint within fourteen
 8   calendar days of the date of the order granting the plaintiff
 9   leave to file an amended complaint.           Failure to file an
10   amended complaint within the time allotted will result in the
11   dismissal of the action with prejudice.
12         6.   Ex Parte Applications:
13         Ex parte applications are solely for extraordinary
14   relief.    See Mission Power Eng'g Co. v. Continental Cas. Co.,
15   883 F. Supp. 488 (C.D. Cal. 1995).           Applications that fail to
16   conform with the Local Rules, including a statement of
17   opposing counsel’s position, will not be considered.                In
18   addition to electronic service, the moving party shall
19   immediately serve the opposing party by fax or hand service
20   and shall notify the opposing party that any opposition must
21   be filed not later than twenty-four hours after the filing of
22   the ex parte application.         If counsel does not intend to
23   oppose the ex parte application, counsel shall immediately
24   inform the Courtroom Deputy by e-mail and immediately file a
25   Notice of Non-Opposition.         The Court considers ex parte
26   applications on the papers and usually does not set the
27   matters for hearing.        Courtesy Copies of all moving,
28   opposition, or non-opposition papers shall be provided to the

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 1   Court in accordance with paragraph 3 of this Order.                The
 2   Courtroom Deputy will notify counsel of the Court’s ruling or
 3   a hearing date and time, if the Court determines a hearing is
 4   necessary.
 5   7.    Applications or Stipulations to Extend the Time to File
 6   any Required Document or to Continue Any Date:
 7         No application or stipulation to extend the time to file
 8   any required document or to continue any date is effective
 9   unless and until the Court approves it.            Any application or
10   stipulation to extend the time to file any required document
11   or to continue any date must set forth the following:
12         (a)   the existing due date or hearing date, as well as
13   all dates set by the Court, including the discovery cut-off
14   date, the Pre-Trial Conference date, and the Trial date;
15         (b) the new dates proposed by the parties;
16         (c) specific, concrete reasons supporting good cause for
17   granting the extension; and
18         (d) whether there have been prior requests for extensions
19   by any party, and whether those requests were granted or
20   denied by the Court.
21         The application or stipulation must be accompanied by a
22   separate proposed order which must be submitted to the Court
23   in accordance with the Local Rules.           The proposed order shall
24   include the existing due date(s) or hearing date(s) as well
25   as the new proposed date(s).
26         Failure to comply with the provisions of this section may
27   result in the denial of the application or stipulation.
28   / / /

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 1         8.   Temporary Restraining Orders and Injunctions:
 2         (a) Documentation Required:
 3         Parties seeking emergency or provisional relief shall
 4   comply with Fed.R.Civ.P.65 and the Local Rules.               An ex parte
 5   application for a temporary restraining order must be
 6   accompanied by:      (1) a copy of the complaint; (2) a separate
 7   memorandum of points and authorities in support of the
 8   application; (3) the proposed temporary restraining order and
 9   a proposed order to show cause why a preliminary injunction
10   should not issue; and (4) such other documents in support of
11   the application which the party wishes the Court to consider.
12   Courtesy Copies of these documents shall be immediately
13   delivered to Chambers.
14         (b) Notice of Ex Parte Applications:
15         Unless relieved by order of the Court for good cause
16   shown, on or before the day counsel files an ex parte
17   application for a temporary restraining order, counsel must
18   personally serve notice and all documents in support of the
19   ex parte application and a copy of the Court’s Standing Order
20   on opposing counsel or party.          Counsel shall also notify the
21   opposing party that any opposition must be filed no later
22   than twenty-four hours after the service of the ex parte
23   application.     Counsel shall immediately file a Proof of
24   Service.
25         If counsel does not intend to oppose the ex parte
26   application, counsel shall immediately inform the Courtroom
27   Deputy by e-mail and immediately file a Notice of Non-
28   Opposition.     The Court considers ex parte applications on the

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 1   papers and usually does not set the matter for hearing.
 2   Courtesy Copies of all moving, opposition, or non-opposition
 3   papers shall be provided to the Court in accordance with
 4   paragraph 3 of this Order.         The Courtroom Deputy will notify
 5   counsel of the Court’s ruling or a hearing date and time, if
 6   the Court determines a hearing is necessary.
 7   9.    Proposed Protective Orders and Filings Under Seal:
 8         Protective orders pertaining to discovery must be
 9   submitted to the assigned Magistrate Judge.              Proposed
10   protective orders should not purport to allow, without
11   further order of Court, the filing under seal of pleadings or
12   documents filed in connection with a hearing or trial before
13   the Court.     The existence of a protective order does not
14   alone justify the filing of pleadings or other documents
15   under seal, in whole or in part.
16         An application to file documents under seal must meet the
17   requirements of the Local Rules and shall be limited to three
18   documents by a party, unless otherwise ordered by the Court.
19   The application to file documents under seal should not be
20   filed under seal.       There is a strong presumption of the
21   public’s right of access to judicial proceedings and records
22   in civil cases.      In order to overcome the presumption in
23   favor of access, the movant must demonstrate compelling
24   reasons (as opposed to good cause) for the sealing if the
25   sealing is requested in connection with a dispositive motion
26   or trial, and the relief sought shall be narrowly tailored to
27   serve the specific interest sought to be protected.                 Pintos
28   / / /

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 1   v. Pacific Creditors Ass'n, 605 F.3d 665 (9th Cir. 2010),
 2   Kamakana v. City and County of Honolulu, 447 F.3d 1172 (9th
 3   Cir. 2006), Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d
 4   1122, 1135 (9th Cir. 2003).
 5         For each document or other type of information sought to
 6   be filed under seal, the party seeking protection must
 7   articulate compelling reasons supported by specific facts or
 8   legal justification that the document or type of information
 9   should be protected.        The facts supporting the application to
10   file documents under seal must be provided by a declaration.
11   The declaration shall attach an unredacted copy of each
12   document to be filed under seal.           The parties are ordered to
13   highlight the portion of the document containing counsel’s
14   proposed redactions.        Documents that are not confidential or
15   privileged in their entirety will not be filed under seal if
16   the confidential portions can be redacted and filed
17   separately.     The declarations in support of the application
18   to file documents under seal shall include an explanation of
19   why redaction is not feasible.
20         If the parties anticipate requesting the Court to file
21   more than three documents under seal in connection with any
22   motion, they shall identify all such documents that will be
23   required to support and oppose the motion during the Local
24   Rule 7-3 conference.        The parties shall then meet and confer
25   in order to determine if the documents satisfy the
26   “compelling need” standard for “sealing” each document.
27   Thereafter, the parties shall file a joint application and
28   lodge a proposed order to file under seal all such documents

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 1   with the required showing as to each document.              The joint
 2   application shall be filed promptly so that the Court may
 3   rule on the application before the filing date for the
 4   motion.    The parties shall not file any pleadings containing
 5   documents they have requested the Court to file under seal
 6   until the Court acts on the application to file under seal.
 7         If a party wishes to file a document that has been
 8   designated confidential by another party, the submitting
 9   party must give any designating party five calendar days
10   notice of intent to file.         If the designating party objects,
11   it should notify the submitting party and file an application
12   to file documents under seal within two court days.
13         If an application to file documents under seal is denied
14   in part or in full, the lodged documents will not be filed.
15   The Courtroom Deputy will notify the submitting party, and
16   hold the lodged documents for three court days to allow the
17   submitting party to retrieve the documents.              If the documents
18   are not retrieved, the Courtroom Deputy will dispose of the
19   documents.
20         If the Court grants an application to file documents
21   under seal, the parties shall file within two days of the
22   Court’s Order a complete version of the documents under seal
23   and a redacted version for public viewing (omitting only such
24   portions as the Court has ordered to be filed under seal).
25   The Court’s Courtesy Copies of all documents filed under seal
26   shall include a complete version of the documents with a
27   notation identifying that the document has been filed under
28   seal and shall be highlighted to show the portion of the

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 1   document that has been redacted. Should counsel fail to file
 2   the under seal version and redacted version of the documents,
 3   the Court will strike any motion that relies on or relates to
 4   those documents and/or file those documents in the public
 5   record.
 6   10. Cases Removed From State Court:
 7         All documents filed in state court, including documents
 8   attached to the Complaint, Answer(s), and Motion(s), must be
 9   re-filed in this Court as a separate supplement to the Notice
10   of Removal.     The supplement must be in a separately bound
11   volume and shall include a Table of Contents.              If the
12   defendant has not yet answered or moved, the Answer or
13   responsive pleading filed in this Court must comply with the
14   Federal Rules of Civil Procedure and the Local Rules of the
15   Central District.       If before the case was removed a motion
16   was pending in state court, it must be re-noticed in
17   accordance with the Local Rules.
18   11. Actions Transferred From Another District
19         Counsel shall file, within ten days of transfer, a Joint
20   Report summarizing the status of the action which shall
21   include a description of all motions filed in the action and
22   the transferor court’s ruling on the motions.              In addition,
23   counsel shall deliver (but not file) one courtesy copy to
24   Chambers of each document on the docket of the transferor
25   court.    On the first page of each courtesy copy, in the space
26   between lines 1 - 7, to the right of the center, counsel
27   shall include the date the document was filed and the
28   document number.       The courtesy copies shall be placed in a

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 1   slant D-ring binder in chronological order with each document
 2   separated by a tab divider on the right side.              All documents
 3   contained in the binder must be three hole punched with the
 4   oversized 13/32" hole size, not the standard 9/32" hole size.
 5   The binder shall include a Table of Contents and the spine of
 6   each binder shall be labeled with its contents.               The courtesy
 7   copies shall be delivered to Chambers within ten days of the
 8   transfer.
 9   12. Status of Fictitiously Named Defendants:
10         This Court adheres to the following procedures when a
11   matter is removed to this Court on diversity grounds with
12   fictitiously named defendants referred to in the Complaint:
13         (a) Plaintiff shall ascertain the identity of and serve
14   any fictitiously named defendants within 90 days of the date
15   that the Complaint was filed in State Court.
16         (b) If plaintiff believes (by reason of the necessity for
17   discovery or otherwise) that fictitiously named defendants
18   cannot be fully identified within the 90-day period, an ex
19   parte application requesting permission to extend the period
20   to effectuate service may be filed with the Court.               Such
21   application shall state the reasons therefore, and will be
22   granted only upon a showing of good cause.             The ex parte
23   application shall be served upon all appearing parties, and
24   shall state that appearing parties may respond within seven
25   calendar days of the filing of the ex parte application.
26         (c) If plaintiff desires to substitute a named defendant
27   for one of the fictitiously named defendants, plaintiff shall
28   first seek the consent of counsel for all defendants (and

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 1   counsel for the fictitiously named party, if that party has
 2   separate counsel). If consent is withheld or denied,
 3   plaintiff shall file an ex parte application requesting such
 4   amendment, with notice to all appearing parties.               Each party
 5   shall have seven calendar days to respond.             The ex parte
 6   application and any response should comment not only on the
 7   substitution of the named party for a fictitiously named
 8   defendant, but on the question of whether the matter should
 9   thereafter be remanded to the Superior Court if diversity of
10   citizenship is destroyed by the addition of the new
11   substituted party.
12   13. Bankruptcy Appeals:
13         Counsel shall comply with the Notice Regarding Appeal
14   From Bankruptcy Court issued at the time the appeal is filed
15   in the District Court.        Counsel are ordered to notify the
16   Court in a joint report if the Certificate of Readiness has
17   not been prepared by the Clerk of the Bankruptcy Court and
18   submitted to the Clerk of the District Court within 90 days
19   of the date of this Order.
20         The matter is considered submitted upon the filing of the
21   final brief.     No oral argument is held unless ordered by the
22   Court.
23   14. Communications with Chambers:
24         Counsel shall not attempt to contact the Court or its
25   Chambers staff by telephone or by any other ex parte means,
26   although counsel may contact the Courtroom Deputy at
27   shannon_reilly@cacd.uscourts.gov with appropriate inquiries.
28   To facilitate communication with the Courtroom Deputy,

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 1   counsel should list their facsimile transmission numbers and
 2   e-mail address along with their telephone numbers on all
 3   papers.
 4   15. Notice of This Order:
 5          Counsel for plaintiff shall immediately serve this Order
 6   on all parties, including any new parties to the action.                 If
 7   this case came to the Court by noticed removal, defendant
 8   shall serve this Order on all other parties.
 9          Caveat:      If counsel fail to cooperate in the preparation
10   of the required Joint Rule 26 Report or fail to file the
11   required Joint Rule 26 Report, or if counsel fail to appear
12   at the Scheduling Conference, the Pre-Trial Conference and/or
13   any other proceeding scheduled by the Court, and such failure
14   is not otherwise satisfactorily explained to the Court: (a)
15   the cause shall stand dismissed for failure to prosecute, if
16   such failure occurs on the part of the plaintiff; (b) default
17   judgment shall be entered if such failure occurs on the part
18   of the defendant; or (c) the Court may take such action as it
19   deems appropriate.
20
21          IT IS SO ORDERED.
22
23   DATED:          October 7, 2020
24
                                                 JOHN F. WALTER
25                                       UNITED STATES DISTRICT JUDGE
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